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                                                                            United States District Court
                                                                              Southern District of Texas

                                                                                 ENTERED
                                                                                 July 13, 2018
                        UNITED STATES DISTRICT COURT
                                                                              David J. Bradley, Clerk
                         SOUTHERN DISTRICT OF TEXAS
                            GALVESTON DIVISION

JUDE AKUECHIAMA,                            §
                                            §
        Plaintiff,                          §
VS.                                         § CIVIL ACTION NO. 3:18-CV-103
                                            §
NEW PENN FINANCIAL, LLC, et al,             §
                                            §
        Defendants.                         §

                               ORDER OF DISMISSAL

       The parties have filed various stipulations dismissing the claims in this case. In

accordance with those stipulations, the plaintiff’s claims against both defendants are

DISMISSED WITH PREJUDICE; Defendant Remy Real Estate and Investments,

LLC’s counterclaim against the plaintiff is DISMISSED WITHOUT PREJUDICE; and

Defendant Remy Real Estate and Investments, LLC’s cross-claim against Defendant New

Penn Financial, LLC is DISMISSED WITH PREJUDICE. Each party shall bear its

own fees and costs.

       This is a FINAL JUDGMENT.

       SIGNED at Galveston, Texas, this 13th day of July, 2018.


                                            ___________________________________
                                            George C. Hanks Jr.
                                            United States District Judge




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